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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER APPOINTING SPECIAL
                                                                         10   This Order Relates To:                  )   MASTER
                               For the Northern District of California
United States District Court




                                                                                                                      )
                                                                         11                                           )
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                         13
                                                                         14
                                                                         15        The Court has suggested the appointment of Mr. Martin Quinn as
                                                                         16   an additional Special Master for this case.        See Fed. R. Civ. P.
                                                                         17   53(a)(1)(A), 53(a)(1)(C).     The Court gave the parties an
                                                                         18   opportunity to be heard by permitted parties to submit objections
                                                                         19   via an order to show cause.      See Order of the Court dated September
                                                                         20   2, 2015, ECF No. 4033 ("Show Cause Order"), Fed. R. Civ. P.
                                                                         21   53(b)(1).   The Court received two objections, plus a response to
                                                                         22   one of the objections.     See ECF Nos. 4043, 4046, 4049.          Parties
                                                                         23   objected to the form of this Order, not to Mr. Quinn himself.            The
                                                                         24   Court granted a hearing, held on September 11, 2015.          Parties were
                                                                         25   then provided a draft order, and the Court entertained objections.
                                                                         26   See ECF Nos. 4053, 4062, 4068.      The Court now finds that parties
                                                                         27   have had a full, fair opportunity to be fully heard on this matter.
                                                                         28   Objections are accommodated in this Order or else are OVERRULED.
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                                                                          1   The Court finds that parties have consented to a Special Master
                                                                          2   performing these duties as presently anticipated, which excludes
                                                                          3   the pending DPP settlement.      See Fed. R. Civ. P. 53(a)(1)(A).       The
                                                                          4   Court accepts as true assertions by certain Counsel made during the
                                                                          5   hearing on September 11, 2015 that it will not be necessary for the
                                                                          6   Special Master to review a fee motion for DPPs, but reserves the
                                                                          7   right to refer the matter to the Special Master should Counsel
                                                                          8   prove to be incorrect.     The Court also finds that determinations of
                                                                          9   attorneys' fees and related matters being referred to Mr. Quinn are
                                                                         10   "posttrial matters that cannot be effectively and timely addressed
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                                                                         11   by an available district judge or magistrate judge of the
                                                                         12   district."    See Fed. R. Civ. P. 53(a)(1)(C).       Accordingly,
                                                                         13   appointment of a Special Master is proper.
                                                                         14        WHEREFORE, IT IS HEREBY ORDERED that, pursuant to Federal Rule
                                                                         15   of Civil Procedure 53, Mr. Martin Quinn is appointed as Special
                                                                         16   Master to supervise and preside over all "designated posttrial
                                                                         17   matters," as defined herein.
                                                                         18        The Special Master has filed a declaration under 28 U.S.C. §
                                                                         19   455 stating that there is no ground for disqualification.           During
                                                                         20   the course of these proceedings, the Special Master and the parties
                                                                         21   shall notify this Court immediately if they become aware of any new
                                                                         22   potential grounds that would require disqualification.
                                                                         23        1.      Scope of Duties
                                                                         24        This Order shall apply to all cases currently pending in MDL
                                                                         25   No. 1917 and to all related actions that have been or will be
                                                                         26   originally filed in, transferred to, or removed to this Court and
                                                                         27   assigned thereto (collectively, "the MDL proceedings").            This Order
                                                                         28   is binding on all parties and their counsel in all cases currently



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                                                                          1   settling or subsequently settling whose posttrial matters fall
                                                                          2   within the scope of the designated posttrial matters detailed
                                                                          3   below.   This presently includes settling Indirect Purchaser
                                                                          4   Plaintiffs, though may in the future include other settling parties
                                                                          5   should the Court believe the circumstances of those settlements
                                                                          6   satisfy Fed. R. Civ. P. 53(a)(1)(A) or (C).        In such circumstances,
                                                                          7   the Court will not initiate separate appointment procedures to
                                                                          8   appoint Mr. Quinn as a Special Master, as he has already been
                                                                          9   appointed, but will permit parties to file objections upon good
                                                                         10   cause shown that a circumstance has changed or newly come to light.
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                                                                         11        Pursuant to Rule 53(a)(3), the Court has considered the
                                                                         12   fairness of imposing the likely expenses of the Special Master on
                                                                         13   the parties.   The Court believes that the appointment and use of
                                                                         14   the Special Master will materially advance the litigation, thereby
                                                                         15   achieving considerable cost-savings to all parties.          The Court will
                                                                         16   protect against unreasonable expenses and delay through regular
                                                                         17   communication with the Special Master and Lead Counsel for the
                                                                         18   Indirect Purchaser Plaintiffs or other relevant Counsel.
                                                                         19        Pursuant to Rule 53(b)(2)(A), the Special Master shall
                                                                         20   adjudicate all designated posttrial matters.         These matters shall
                                                                         21   include assisting the Court with the approval of the pending
                                                                         22   settlements in the Indirect-Purchaser Cases, the determination of a
                                                                         23   fair, reasonable, and adequate aggregate award of attorneys' fees
                                                                         24   and the reimbursement of expenses to all plaintiffs' counsel, a
                                                                         25   fair and reasonable division of the aggregate award among
                                                                         26   plaintiffs' counsel, and service awards to the named plaintiffs,
                                                                         27   including any objections to these matters, and dealing with any
                                                                         28   other matters that the Court may direct him to undertake.          This



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                                                                          1   specifically excludes pretrial discovery disputes, excludes
                                                                          2   disputes arising during the course of pretrial depositions, and
                                                                          3   excludes any pretrial motion.      Such disputes have been previously
                                                                          4   assigned to Judge (Ret.) Walker or Magistrate Judge (Ret.) Larson
                                                                          5   (appointment subject to objections), whose present and pending
                                                                          6   appointments as Special Masters remains unaffected by this separate
                                                                          7   appointment of a third, distinct Special Master.
                                                                          8        The Special Master may approach these duties in whatever
                                                                          9   manner he deems proper.     For example, he may (but is not required
                                                                         10   to) ask Lead Counsel for the Indirect Purchaser Plaintiffs to
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                                                                         11   allocate the attorneys' fees among Plaintiffs' Counsel in the first
                                                                         12   instance in a manner which Lead Counsel in good faith believes
                                                                         13   reflects the contributions of such counsel to the prosecution and
                                                                         14   settlement of the Action.     However, all aspects of such allocation
                                                                         15   must remain entirely subject to the Special Master's review.
                                                                         16   Moreover, and to alleviate concern by certain parties, the Special
                                                                         17   Master must expressly consider and include within a Report and
                                                                         18   Recommendation a review of the appropriate allocation of the
                                                                         19   aggregate award among each of the plaintiffs' firms who have
                                                                         20   contributed to this litigation, to include division of fees and
                                                                         21   reimbursement of costs.
                                                                         22        The Special Master shall assist the Court by preparing reports
                                                                         23   and issuing recommendations in the Indirect Purchaser Cases or
                                                                         24   other, later assigned cases on the subjects of: (1) final approval
                                                                         25   of the pending settlements, including any objections thereto; (2)
                                                                         26   the aggregate award of attorneys' fees and expenses to all
                                                                         27   Plaintiffs' Counsel; (3) a fair and reasonable division of the
                                                                         28   aggregate award among plaintiffs' counsel; (4) service awards to



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                                                                          1   named Plaintiffs, including any objections thereto; and (5) the
                                                                          2   reimbursement of the parties' expenses, including any objections
                                                                          3   thereto.   See Fed. R. Civ. P. 53(e).      All recommendations submitted
                                                                          4   by the Special Master concerning these matters shall be filed and
                                                                          5   served as set forth below.
                                                                          6         The Special Master is authorized to retain independent
                                                                          7   auditors, accountants, and clerical assistants to assist him with
                                                                          8   the preparation of any report concerning expenses or fees.
                                                                          9         In connection with his duties, the Special Master is
                                                                         10   authorized to employ such processes, and to request such evidence
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                                                                         11   and information, in whatever form is appropriate, as will
                                                                         12   contribute to a fair and efficient resolution of such issues.
                                                                         13         2.    Special Master's Authority
                                                                         14         The Special Master shall have all the authority provided in
                                                                         15   Rule 53(c), including but not limited to the authority to set the
                                                                         16   date, time and place for all hearings, to preside over hearings
                                                                         17   (whether telephonic or in-person), to take evidence, to conduct
                                                                         18   telephonic conferences to resolve disputes arising during
                                                                         19   depositions, to recommend contempt sanctions to the Court, and to
                                                                         20   issue orders awarding non-contempt sanctions, including, without
                                                                         21   limitation, the award of attorneys' fees, as provided by Rules 37
                                                                         22   and 45.    The Special Master may determine disputes arising from
                                                                         23   failing to abide by sanctions set forth by the Special Master.      The
                                                                         24   Special Master is authorized to receive and consider information
                                                                         25   designated as confidential pursuant to the Protective Order entered
                                                                         26   in this matter, and may review privileged material in camera.      The
                                                                         27   Special Master agrees to be bound by said Protective Order.
                                                                         28   ///



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                                                                          1         3.   Procedure for Motions Submitted to the Special Master
                                                                          2         The procedural requirements contained in the Court's Pretrial
                                                                          3   Orders shall govern any motion practice before the Special Master,
                                                                          4   unless the Special Master orders otherwise.
                                                                          5         4.   Preservation of Record
                                                                          6              a.    Preservation of Materials and Preparation of Record
                                                                          7         Pursuant to Rule 53(b)(2)(c), the Special Master shall
                                                                          8   maintain orderly files consisting of all documents submitted to him
                                                                          9   by the parties and of any of his written orders, findings and/or
                                                                         10   recommendations.    Pursuant to Rule 53(e), the Special Master shall
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                                                                         11   file any written orders, findings, and/or recommendations with the
                                                                         12   Court via the Court's Electronic Case Filing ("ECF").          Such filing
                                                                         13   shall fulfill the Special Master's duty to serve his orders on the
                                                                         14   parties.
                                                                         15              b.    Special Master's Reports to Court
                                                                         16         Pursuant to Rule 53(e), the Special Master shall issue orders
                                                                         17   on motions presented to him which shall be final and not require
                                                                         18   the Court's signature, subject to the parties' right to file
                                                                         19   objections as described below.      Further, the Special Master shall
                                                                         20   prepare reports and recommendations to the Court on the subjects
                                                                         21   stated herein.   If the Special Master considers it advisable to
                                                                         22   make any other report to the Court, he shall do so in accordance
                                                                         23   with Rule 53(e).
                                                                         24         5.   Action on Orders, Reports, or Recommendations
                                                                         25         Pursuant to Rule 53(f), the procedures described in paragraphs
                                                                         26   5(a)-(d) herein shall govern any action on the Special Master's
                                                                         27   orders, reports and/or recommendations.
                                                                         28   ///



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                                                                          1             a.    Time Limits for Review
                                                                          2        Any party wishing to file objections or a motion to adopt or
                                                                          3   modify the Special Master's orders, reports and/or recommendations
                                                                          4   must file such objections or motion with the Court within 14 days
                                                                          5   from the day the Special Master filed the order, report, and/or
                                                                          6   recommendation via ECF.     Any order issued by the Special Master
                                                                          7   shall remain in effect pending any such objection or motion.         Any
                                                                          8   opposition shall be filed within 7 days after the objection on the
                                                                          9   motion is filed.
                                                                         10             b.    Filing the Record for Review
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                                                                         11        The party filing the objection or motion shall submit with
                                                                         12   such objection or motion any record necessary for the Court to
                                                                         13   review the Special Master's order, report and/or recommendation,
                                                                         14   including any transcripts of proceedings before the Special Master
                                                                         15   and any documents submitted by the parties in connection with the
                                                                         16   Special Master's order, report and/or recommendation.          Failure to
                                                                         17   provide the record shall constitute grounds for the Court to
                                                                         18   overrule the objection or deny the motion.
                                                                         19             c.    Standard for Review
                                                                         20        Pursuant to Rule 53(f)(3)-(5), the Court shall review findings
                                                                         21   of fact made or recommended by the Special Master for clear error.
                                                                         22   The Court shall review de novo any conclusions of law made or
                                                                         23   recommended by the Special Master.       The Court will set aside the
                                                                         24   Special Master's ruling on a procedural matter only for an abuse of
                                                                         25   discretion.
                                                                         26             d.    Court's Actions on Special Master's Orders
                                                                         27        Pursuant to Rule 53(f)(1), in acting on an order or R&R of the
                                                                         28   Special Master, the Court shall afford the parties an opportunity



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                                                                          1   to present their positions and, in its discretion, may receive
                                                                          2   evidence, and may adopt or affirm; modify; wholly or partly reject
                                                                          3   or reverse; resubmit to the Special Master with instructions; or
                                                                          4   make any further orders it deems appropriate.
                                                                          5        6.     Ex Parte Communications
                                                                          6        Pursuant to Rule 53(b)(2)(B), the Special Master may
                                                                          7   communicate ex parte with the Court at any time.         Generally, the
                                                                          8   Special Master shall not communicate ex parte with any party
                                                                          9   without first providing notice to, and receiving consent from,
                                                                         10   Plaintiffs' Lead Counsel and Counsel for any other interested
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                                                                         11   party.    However, without providing notice or obtaining consent, the
                                                                         12   Special Master may communicate ex parte with a party for the
                                                                         13   limited purposes of administrative matters such as scheduling
                                                                         14   hearings, telephone calls or briefing, if such arrangements cannot
                                                                         15   be made in a timely manner by contacting the Special Master's
                                                                         16   administrative assistant.
                                                                         17        7.     Compensation
                                                                         18        Pursuant to Rule 53(g), the Special Master shall be
                                                                         19   compensated at an hourly rate of $700.00 for his services as
                                                                         20   Special Master in the MDL proceedings, plus the Administrative Fee
                                                                         21   charged by JAMS, and shall be reimbursed for any out-of-pocket
                                                                         22   expenses (e.g. cost of accountants, auditors and clerical
                                                                         23   assistants, and expenses for telephone conference calls).          The
                                                                         24   Special Master shall not charge for travel time.         The Special
                                                                         25   Master shall prepare a monthly invoice for his services, which he
                                                                         26   shall provide to Lead Counsel for the Indirect Purchaser Plaintiffs
                                                                         27   (or such other counsel as the Court should in the future direct) to
                                                                         28   be paid from the Litigation Fund.         In connection with objections



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                                                                          1   and discovery matters, the parties shall each pay an equal share of
                                                                          2   the cost.
                                                                          3        8.     Diligence
                                                                          4        Pursuant to Rule 53(b)(2), the Court hereby directs the
                                                                          5   Special Master to proceed with all reasonable diligence in
                                                                          6   performing his duties in the MDL proceedings.
                                                                          7        Within seven (7) days of this order or according to such
                                                                          8   schedule as the Special Master may otherwise publish, all parties
                                                                          9   with pending designated posttrial matters shall contact the Special
                                                                         10   Master to discuss the execution of his duties in connection with
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                                                                         11   this order.
                                                                         12
                                                                         13        IT IS SO ORDERED.
                                                                         14
                                                                         15        Dated: September 24, 2015           ______________________________
                                                                         16                                             UNITED STATES DISTRICT JUDGE
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